Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 1 of 22




              Exhibit 2
                        Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 2 of 22




                 Infringement Claim Chart for U.S. Pat. No. US8140440B1 Vs Zoho Corporation
                                                (“Defendant”)

    Claim 20                                                Evidence
20) An             The defendant product (i.e., Zoho Sign) is a Web-based electronic signature document
electronic         processing platform that can be accessed via websites and mobileapps.
mortgage
closing
document
processing
system
comprising a
server
computer
configured to:
                   Source: https://www.zoho.com/sign/what-is-esign.html




                   Source: https://www.zoho.com/sign/how-to-create-electronic-signature.html




                                                      1
                 Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 3 of 22




             Source: https://www.zoho.com/sign/how-to-create-electronic-signature.html




             Source: https://www.zoho.com/sign/what-is-esign.html
             Source: https://www.zoho.com/sign/features-and-benefits/?src=homepage

a)receive    Zoho Sign Electronic Signature allows for the secure upload and storage of electronic
electronic   documents, including mortgage closing documents. These documents can be uploaded by
mortgage     authorized users or integrated into existing systems.
closing
documents;




                                               2
    Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 4 of 22




Source: https://www.zoho.com/sign/solutions-departments/real-estate.html




                                  3
    Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 5 of 22




Source: https://www.zoho.com/sign/what-is-esign.html




Source: https://www.zoho.com/sign/what-is-esign.html




                                  4
                         Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 6 of 22




                    Source: https://www.zoho.com/sign/what-is-esign.html




                    Source: https://www.zoho.com/sign/how-to-create-electronic-signature.html
b) associate a      Zoho Sign Electronic Signature supports digital signatures that provide legal authentication
digital signature   (such as email verification and secure logins) and integrity verification for electronic
capability with     documents. Users can apply digital signatures to the mortgage closing documents to ensure
the electronic      their authenticity and tamper-proof status.
mortgage
closing
documents to
provide a digital




                                                       5
                         Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 7 of 22




signature
authentication
capability for the
electronic
mortgage
closing
documents;




                     Source: https://www.zoho.com/sign/solutions-departments/real-estate.html




                                                       6
     Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 8 of 22




Source: https://www.zoho.com/sign/security.html




Source: https://www.zoho.com/sign/features-and-benefits/signer-authentication.html




                                   7
                         Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 9 of 22




                    Source: https://www.zoho.com/sign/#:~:te




                    Source: https://www.zoho.com/sign/#:~:te

c)identify one or   Zoho Sign Electronic Signature facilitates the identification of participants in an electronic
more entities       document signing session through user authentication methods, such as email verification
participating in    and secure logins.Zoho Sign monitors user activity and can confirm when participants have




                                                        8
                       Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 10 of 22




an electronic      joined a document signing session, providing real-time status updates.
document
signing session;
determine that
the one or more
entities have
connected to a
document
signing session;



                   Source: https://www.zoho.com/sign/security.html




                   Source: https://www.zoho.com/sign/features-and-benefits/signer-authentication.html




                                                      9
    Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 11 of 22




Source: https://www.zoho.com/sign/how-zoho-sign-works.html




Source: https://www.zoho.com/sign/#:~:te




                                  10
                     Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 12 of 22




                 Source: https://www.zoho.com/sign/#:~:te




                 Source: https://www.zoho.com/sign/how-zoho-sign-works.html

d) provide the   Zoho Sign Electronic Signature allows for the distribution of documents to participants in a
electronic       predefined order or as needed. Users can access and review documents sequentially for
mortgage         signing purposes.
closing




                                                   11
                        Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 13 of 22




documents to
the one or more
entities, the
electronic
mortgage
closing
documents
being provided
to the one or       Source: https://www.zoho.com/sign/how-zoho-sign-works.html
more entities for
execution of an
action
representing
signing of the
electronic
mortgage
closing
documents, and
being provided
to the one or
more entities in
a predetermined
order;
                    Source: https://www.zoho.com/sign/#:~:te




                                                      12
                   Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 14 of 22




               Source: https://www.zoho.com/sign/#:~:te




               Source: https://www.zoho.com/sign/how-zoho-sign-works.html

e)receive a    Zoho Sign Electronic Signature supports the collection of electronic signatures from multiple
plurality of   parties involved in the document signing session, ensuring a legally binding signing process.
electronic
signatures;




                                                  13
    Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 15 of 22




Source: https://www.zoho.com/sign/how-zoho-sign-works.html




Source: https://www.zoho.com/sign/#:~:te




                                  14
                  Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 16 of 22




              Source: https://www.zoho.com/sign/how-zoho-sign-works.html




              Source: https://www.zoho.com/sign/#:~:te

f)store the   Zoho Sign Electronic Signature securely stores both the electronic mortgage closing
electronic    documents and the associated electronic signature information, ensuring a comprehensive
mortgage      record of the signing process.
closing




                                                15
                     Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 17 of 22




documents and
the electronic
signatures;
store
information
relating to
content of the
electronic
mortgage
closing
documents; and




                 Source: https://www.zoho.com/sign/solutions-departments/real-estate.html




                                                   16
    Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 18 of 22




Source: https://www.zoho.com/sign/what-is-esign.html




Source: https://www.zoho.com/sign/what-is-esign.html




                                  17
                       Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 19 of 22




                   Source: https://www.zoho.com/sign/how-zoho-sign-works.html
g) populate the    Zoho Sign Electronic Signature can facilitate the pre-filling of electronic documents with
electronic         relevant user information, simplifying the signing process and reducing errors.
mortgage
closing
documents with
information
relevant to the
document
signing session.




                                                     18
    Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 20 of 22




Source: https://www.zoho.com/sign/#:~:te




                                  19
    Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 21 of 22




Source: https://www.zoho.com/sign/how-zoho-sign-works.html




Source: https://www.zoho.com/sign/#:~:te




                                  20
    Case 6:24-cv-00078-KC Document 1-2 Filed 02/07/24 Page 22 of 22




Source: https://www.zoho.com/sign/features-and-benefits/?src=homepage




                                  21
